

People v Wilson (2018 NY Slip Op 02063)





People v Wilson


2018 NY Slip Op 02063


Decided on March 23, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 23, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, DEJOSEPH, AND CURRAN, JJ.


250 KA 16-00792

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vRONNELL D. WILSON, DEFENDANT-APPELLANT. (APPEAL NO. 4.) 






D.J. &amp; J.A. CIRANDO, ESQS., SYRACUSE (BRADLEY E. KEEM OF COUNSEL), FOR DEFENDANT-APPELLANT.
KRISTYNA S. MILLS, DISTRICT ATTORNEY, WATERTOWN, FOR RESPONDENT. 


	Appeal from a judgment of the Jefferson County Court (Kim H. Martusewicz, J.), rendered January 8, 2016. The judgment convicted defendant, upon his plea of guilty, of attempted sex trafficking. 
It is hereby ORDERED that the judgment so appealed from is unanimously reversed on the law, the plea is vacated, and the matter is remitted to Jefferson County Court for further proceedings on indictment No. 171-14.
Same memorandum as in People v Wilson ([appeal No. 1] — AD3d — [Mar. 23, 2018] [4th Dept 2018]).
Entered: March 23, 2018
Mark W. Bennett
Clerk of the Court








